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AO 440 (Rev. 06/)2) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of Arkansas

CYNTHIA GOYNE

Plaintiffs)
Vv.

Civil Action No. 4:21-cv- |4q- K6B

PROPEL TRUCKING, INC.,
and MARC CAMPBELL

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
MARC CAMPBELL
3305 East Main Street, Suite C
Russellville, Arkansas 72802

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Josh Sanford

SANFORD LAW FIRM, PLLC

Kirkpatrick Plaza

10800 Financial Centre Parkway, Suite 510
Little Rock, Arkansas 72211

501-221-0088; josh@sanfordlawfirm.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

JAMES W. McCORMACK

CLERK OF COURT
ie
Date: March 12, 2021 Ge +)

( Sigrlature ; ee lerk or Deputy Clerk
 

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Civil Action No. 4:21-cv-

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (D)

This summons for (name of individual and title. if any) Me. tC C, wm h 2} {
was received by me on (dute) % | } y / RO A) : p

I personally served the summons on the individual at (place) Di» p al Trock king Tne.

SOS Sash Nar! 7 Ge eb on (date) mor ‘or
. flussellutle, Ay i a
O I left the summons at the individual’s residence or usual nites of ¢ fire (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or
0 I served the summons on (name of individual) . who is
designated by law to accept service of process on behalf of (name of organization)
Ou (date) ; or
SS
; Or

(1 I returned the summons unexecuted because

O Other (specify):

        
 
   

forA total of $ 0

My fees are $ for travel and $ for services,

I declare under penalty of perjury that this information is true.

Date: / AL/xdo|

emer ’s signature

M belt My process Sten

Printed name anditle

   

p >) py (GO%e/ LAN, PUTALIA

Server's address

Additional information regarding attempted service, etc:
Nate; ) Ware Chom. f bell Dud, Commens an Complatak
